 Case 22-19361-MBK           Doc 810      Filed 05/01/23 Entered 05/01/23 13:30:20               Desc Main
                                         Document     Page 1 of 7


   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(b)

   COLE SCHOTZ P.C.
   Michael D. Sirota, Esq. (NJ Bar No. 014321986)
   Warren A. Usatine, Esq. (NJ Bar No. 025881995)
   Court Plaza North, 25 Main Street
   Hackensack, New Jersey 07601                                     Order Filed on May 1, 2023
   (201) 489-3000                                                   by Clerk
                                                                    U.S. Bankruptcy Court
   msirota@coleschotz.com                                           District of New Jersey
   wusatine@coleschotz.com

   KIRKLAND & ELLIS LLP
   KIRKLAND & ELLIS INTERNATIONAL LLP
   Joshua A. Sussberg, P.C. (admitted pro hac vice)
   Christine A. Okike, P.C. (admitted pro hac vice)
   601 Lexington Avenue
   New York, New York 10022
   (212) 446-4800
   jsussberg@kirkland.com
   christine.okike@kirkland.com

   HAYNES AND BOONE, LLP
   Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
   Kenric D. Kattner, Esq. (admitted pro hac vice)
   30 Rockefeller Plaza, 26th Floor
   New York, New York 10112
   (212) 659-7300
   richard.kanowitz@haynesboone.com
   kenric.kattner@haynesboone.com

   Attorneys for Debtors and Debtors in Possession


   In re:
                                                           Chapter 11
   BLOCKFI INC., et al.,
                                                           Case No. 22-19361 (MBK)
            Debtors.1                                      (Jointly Administered)


   ORDER (I) GRANTING IN PART AND DENYING IN PART A LIMITED WAIVER OF
               THE DEPOSIT REQUIREMENTS OF SECTION 345(B)
       OF THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF




DATED: May 1, 2023
Case 22-19361-MBK    Doc 810    Filed 05/01/23 Entered 05/01/23 13:30:20       Desc Main
                               Document     Page 2 of 7



      The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.
Case 22-19361-MBK            Doc 810      Filed 05/01/23 Entered 05/01/23 13:30:20                     Desc Main
                                         Document     Page 3 of 7
 (Page | 3)
 Debtors:                  BLOCKFI INC., et al.
 Case No.                  22-19361 (MBK)
 Caption of Order:         ORDER (I) GRANTING IN PART AND DENYING IN PART A
                           LIMITED WAIVER OF THE DEPOSIT REQUIREMENTS OF SECTION
                           345(B) OF THE BANKRUPTCY CODE AND (II) GRANTING
                           RELATED RELIEF

         Upon the Debtors’ Emergency Motion for Entry of an Order (I) Granting a Limited Waiver

 of the Deposit Requirements of Section 345(a) of the Bankruptcy Code and (II) Granting Related

 Relief (the “Motion”),2 of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”), for entry of an order (this “Order”) (a) granting a limited waiver of the

 requirements of section 345(b) of the Bankruptcy Code and (b) granting related relief, all as more

 fully set forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction

 to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered July 23, 1984, and amended on September

 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;; and this Court having

 found that the Debtors’ notice of the Motion was appropriate under the circumstances and no other

 notice need be provided; and the United States Trustee having filed an Objection to the Motion

 (“U.S. Trustee Objection”); and this Court having reviewed the Motion and the U.S. Trustee

 Objection and having heard the statements in support of the relief requested therein and objections

 thereto at a hearing before this Court on April 27, 2023 (the “Hearing”); and this Court having

 determined that the legal and factual bases set forth in the Motion establish just cause for certain

 relief granted herein; and upon all of the proceedings had before the Court and for the reasons set




 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
Case 22-19361-MBK         Doc 810    Filed 05/01/23 Entered 05/01/23 13:30:20             Desc Main
                                    Document     Page 4 of 7
 (Page | 4)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      ORDER (I) GRANTING IN PART AND DENYING IN PART A
                        LIMITED WAIVER OF THE DEPOSIT REQUIREMENTS OF SECTION
                        345(B) OF THE BANKRUPTCY CODE AND (II) GRANTING
                        RELATED RELIEF

 forth on the record at the Hearing; and after due deliberation and sufficient cause appearing

 therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED IN PART and DENIED IN PART as set forth herein.

        2.      Notwithstanding anything to the contrary in the Final Order (I) Authorizing the

 Debtors to (A) Continue Use of Existing Business Forms and Records, (B) Maintain Existing

 Corporate Bank Accounts and Cash Management System, (C) Pay Prepetition Bank Fees

 Associated with the Cash Management System, and (D) Continue Performance of Intercompany

 Transactions, (II) Granting Administrative Expense Status To Postpetition Intercompany

 Balances, and (III) Waiving Certain U.S. Trustee Requirements [Docket No. 306], or elsewhere,

 the requirements of section 345 of the Bankruptcy Code, to the extent applicable and solely in

 connection with these chapter 11 cases, may be waived solely with respect to the Remaining Funds

 and solely on the terms set forth herein.

        3.      A limited waiver of section 345(b) is denied to the extent the Debtors receive

 confirmation from First Citizens Bank and/or the U.S. Trustee that First Citizens Bank has

 collateralized the Remaining Funds (as that term is defined in the Motion) in an amount equal to

 115% of the Remaining Funds as required under the Uniform Depository Agreement between First

 Citizens Bank and the United States Trustee for Region 3 (the “345 Confirmation”) by 5:00 pm

 prevailing Eastern time on May 1, 2023 (the “Deadline”), which Deadline may be extended by

 mutual agreement between the Debtors and the U.S. Trustee.

        4.      A limited waiver of section 345(b) is granted if, and only if, First Citizens Bank or

 the U.S. Trustee does not provide the Debtors with the 345 Confirmation, prior to the Deadline.
Case 22-19361-MBK         Doc 810    Filed 05/01/23 Entered 05/01/23 13:30:20             Desc Main
                                    Document     Page 5 of 7
 (Page | 5)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      ORDER (I) GRANTING IN PART AND DENYING IN PART A
                        LIMITED WAIVER OF THE DEPOSIT REQUIREMENTS OF SECTION
                        345(B) OF THE BANKRUPTCY CODE AND (II) GRANTING
                        RELATED RELIEF

 In such event, the Debtors are authorized to invest the applicable Remaining Funds in one or more

 money market funds that only invest in U.S. government obligations in an amount up to $275

 million with Webster Bank or other authorized depository that has executed a Uniform Depository

 Agreement with the United States Trustee for Region 3. For the avoidance of doubt, the Debtors

 are authorized to invest in U.S. government obligations directly at any time.

        5.      With respect to the $24 million of Remaining Funds currently held at BAML, the

 Debtors are authorized to transfer such funds to First Citizens Bank if First Citizens Bank confirms

 prior to the Deadline that they will open a bank account for BlockFi International Ltd. (“Account

 Confirmation”). To the extent First Citizens Bank fails to provide the Account confirmation

 directly with the Debtors by the Deadline, or any agreed upon extension thereof, the Debtors are

 granted a limited waiver of the section 345 requirements to allow such funds of BlockFi

 International Ltd. to be deposited into one or more money market funds that only invest in U.S.

 government obligations or to purchase U.S. government obligations directly. For the avoidance

 of doubt, nothing herein prohibits the Debtors from placing these funds into an account with an

 approved depository that will comply with the collateralization requirements of their UDA.

        6.      The Debtors are not authorized to deposit any funds into any insured cash sweep

 programs.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        8.      Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

 be effective and enforceable immediately upon entry hereof.
Case 22-19361-MBK         Doc 810    Filed 05/01/23 Entered 05/01/23 13:30:20             Desc Main
                                    Document     Page 6 of 7
 (Page | 6)
 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      ORDER (I) GRANTING IN PART AND DENYING IN PART A
                        LIMITED WAIVER OF THE DEPOSIT REQUIREMENTS OF SECTION
                        345(B) OF THE BANKRUPTCY CODE AND (II) GRANTING
                        RELATED RELIEF

        9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of the Bankruptcy Rules and the Local Rules are satisfied by

 such notice.

        10.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        11.     Notwithstanding anything to the contrary in the Motion, this Order, or any findings

 announced at the hearing, nothing in the Motion, this Order, or announced at the hearing constitutes

 a finding under the federal securities laws as to whether crypto tokens or transactions involving

 crypto tokens are securities, and the right of the United States Securities and Exchange

 Commission to challenge transactions involving crypto tokens on any basis are expressly reserved.

        12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
Case 22-19361-MBK   Doc 810    Filed 05/01/23 Entered 05/01/23 13:30:20   Desc Main
                              Document     Page 7 of 7



                                     Exhibit B

                        Redline of Revised Proposed Order
